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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA
                                               No. 09 CR 383
              v.
                                               Judge Sharon Johnson Coleman
 OVIDIO GUZMAN LOPEZ


                   MOTION FOR ENTRY OF AGREED
              PROTECTIVE ORDER GOVERNING DISCOVERY

      Pursuant to Fed. R. Crim. P. 16(d), the United States of America, by MORRIS

PASQUAL, Acting United States Attorney for the Northern District of Illinois, moves

for the entry of an agreed protective order, and in support thereof states as follows:

      1.     The Twelfth Superseding Indictment in this case charges defendant

with conspiring to possess with intent to distribute and distribute controlled

substances, in violation of Title 21, United States Code, Section 846 (Count One),

engaging in a continuing criminal enterprise, in violation of Title 21, United States

Code, Section 848(a), (b), and (e)(1)(A) (Count Two), conspiring to import controlled

substances into the United States, in violation of Title 21, United States Code, Section

963 (Count Three), conspiring to commit money laundering, in violation of Title 18,

United States Code Section 1956(h) (Count Five), and using and carrying a firearm

during and in relation to a drug trafficking crime, in violation of Title 18, United

States Code, Section 924(c) (Count Nine).
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        2.    Defendant was charged in this case following an investigation which

included the interception of certain communications pursuant to orders issued by a

judge in accordance with Title 18, United States Code, Section 2518.

        3.    Pursuant to Title 18, United States Code, § 2518(9), the contents of

intercepted wire communications shall not be disclosed at a hearing or other judicial

proceeding unless each party has been provided with a copy of the court order and

the accompanying applications and affidavits under which the interception was

made. At the present time, those orders, applications, and affidavits are under seal.

        4.    In accordance with its disclosure obligations under Section 2518(9) and

Rule 16.1, the government intends to produce to defendant and defendant’s counsel

copies of the sealed applications, affidavits, and orders authorizing the interception

of wire communications in this case. 1

        5.    The government requests this Court to direct that the release of the

applications, affidavits, and court orders, as well as any recordings, reports, and other

materials that may be turned over in connection with this matter, be subject to the

conditions set forth in the proposed protective order.

        6.    The need for a proposed protective order arises from the significant

constraints imposed by the federal wiretap statute, 18 U.S.C. §§ 2510-2520, on the

disclosure and use of electronic surveillance information. Subsumed in these



1      The applications, affidavits, and orders contain sensitive information, the disclosure
of which could have a detrimental impact on the safety of witnesses. Therefore, the
government intends to redact certain information from these pleadings prior to their
disclosure to defendant and defendant’s counsel.
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constraints and, indeed, a driving force behind them, is the protection of the privacy

interests of persons including third parties who were intercepted in the electronic

surveillance but who have not been charged. Although the wiretap applications,

affidavits and orders are being disclosed to defendants in accordance with 18 U.S.C.

§ 2518(9), they otherwise remain under seal pursuant to 18 U.S.C. § 2518(8)(b). These

materials may be further disclosed only “upon a showing of good cause before a judge

of competent jurisdiction.” 18 U.S.C. § 2518(8)(b); In re Applications of Kansas City

Star, 666 F.2d 1168, 1175-76 (8th Cir. 1981) (observing that the district court’s order

which barred defendant and his attorneys from disclosing wiretap applications,

orders and intercepted conversations was “highly appropriate considering the

‘privacy of other people’” and noting that the good cause requirement of the statute

called for consideration by the courts of the privacy interests of third parties which

might be affected by the disclosure).

         7.   The discovery to be provided by the government in this case includes

sensitive information in addition to the wiretap materials, whose unrestricted

dissemination could adversely affect law enforcement interests and the privacy

interests of third parties.

         8.   The government has discussed the proposed protective order with

counsel for defendant Ovidio Guzman Lopez, who agrees to the entry of the proposed

order.

         WHEREFORE, the government respectfully moves this Court to enter the

proposed protective order relating to the sealed applications, affidavits, and orders

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authorizing the interception of wire communications in this case, which are being

provided to defendant and defendant’s counsel as contemplated by Title 18, United

States Code, Section 2518(9), as well as to any other recordings, reports, and

investigative materials that may subsequently be turned over in connection with this

case.

                                      Respectfully submitted,

                                      MORRIS PASQUAL
                                      Acting United States Attorney

                                By:   /s/ Erika Csicsila
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Dated: October 5, 2023




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